    Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 1 of 12 PageID #:346




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                    )
                                                    )      This Document Relates to All Cases
                                                    )
 IN RE: FAIRLIFE MILK PRODUCTS                      )      MDL No. 2909
 MARKETING AND SALES PRACTICES                      )      Master Case No. 19-cv-3924
 LITIGATION                                         )      Judge Robert M. Dow, Jr.
                                                    )
                                                    )
                                                    )
                                                    )

            MOTION FOR APPOINTMENT TO LEADERSHIP STRUCTURE

       Syed Ali Saeed (hereinafter “Mr. Saeed”) and his law firm, Saeed & Little, LLP

(hereinafter “S&L Firm”), counsel for plaintiffs in Sabeehullah et.al. v. Fairlife et.al., submit the

following application in support of Mr. Saeed’s appointment as Co-Lead Counsel in the Fairlife

Milk Products Marketing and Sales Practices Litigation MDL (“Fairlife MDL”). S&L Firm

proposes a leadership structure comprising of three co-lead counsels. More specifically, S&L

Firm proposes that: (1) Syed Ali Saeed from Saeed and Little, LLP should be appointed as one of

the three co-leads in the Fairlife MDL; and (2) the other two co-leads should be picked from the

other well-qualified applicants who are also making submissions. The proposed leadership

structure is streamlined and will ensure efficient and effective prosecution of these cases while

allowing fair representation to interested groups within the larger class. S&L Firm employs

multiple competent counsels who have a breadth of experience in complex and class action

litigation. Consequently, S&L Firm will have the requisite capacity and expertise to adequately

litigate this MDL.
         Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 2 of 12 PageID #:346




    I.     Factual Background

           In June 2019, Animal Recovery Mission, a not-for-profit animal welfare organization out

of Miami Beach, Florida, posted an exposé online reporting animal abuse towards calves and

cows at Fair Oaks Farms, the “flagship farm” of the Fairlife brand. Following this new story, at

least eight (8) lawsuits 1 were filed on behalf of consumers (collectively referred to as

“Lawsuits”) alleging damages incurred as a result of false and deceptive representations related

to milk products sold under the “Fairlife” brand name (“Milk Products”). Amongst these filing,

Sabeehullah v. Fairlife, LLC., was the standout complaint because it was one of the earliest

filings and included proposed class representatives from several states including Indiana,

Michigan, California, Kentucky, and Virginia.

           Although the allegations in these Lawsuits differ in some respects, all Plaintiffs

commonly allege that Defendants 2 falsely and deceptively labeled, packaged, and/or marketed

their Milk Products. Such false and deceptive representations include but are not limited to

Defendant’s express “promise” of providing extraordinary care and comfort for the animals that

produce the Milk Products. As was recently discovered via media reports and investigations,

Defendants’ cows are systematically abused and tortured, and any policies and procedures

instituted by the Defendants to curb animal abuse and ensure appropriate care were thoroughly

inadequate. Consequently, Plaintiff and proposed class members have incurred damages and




1
  Michael v. Fairlife, LLC, et al., No. 1:19-cv-3294 (N.D. Ill.); Schwartz v. Fairlife, LLC, No. 1:19-cv-3929 (N.D.
Ill.); Sabeehullah v. Fairlife, LLC, et al., No. 2:19-cv-00222 (N.D. Ind.); Abowd v. Fairlife, LLC, et al., No. 1:19-cv-
04009 (S.D. Ind.); Salzhauer v. The Coca-Cola Company, et al., No. 1:19-cv-02709 (N.D. Ga.); Henderson v. The
Coca-Cola Company, et al., No. 1:19-cv-11953 (D. Mass.); Ngai v. Fairlife, LLC, et al., No. 2:19-cv-08148 (C.D.
Cal.); Olivo v. The Coca-Cola Company, et al., No. 2:19-cv-08302 (C.D. Cal.).
2
 The Lawsuits named Fairlife, LLC, Mike McCloskey, Sue McCloskey, The Coca-Cola Company, and/or Select
Milk Producers, Inc. as defendants (collectively referred to as “Defendants”).
          Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 3 of 12 PageID #:346




bring these Lawsuits to assert claims for: (i) fraud/intentional misrepresentation; (ii) negligent

misrepresentation, (iii) unjust enrichment, (iv) breach of express warranty, (v) breach of implied

warranty, and (vi) violation of various state consumer fraud and consumer protection acts. 3

            On October 2, 2019, the Lawsuits were transferred to the Northern District of Illinois for

coordinated or consolidated pretrial proceedings (“Transfer Order”). [Case MDL No. 2909, Dkt

48]. The Transfer Order was issued following a Motion for Transfer of Action for Coordinated or

Consolidated Pre-Trial Proceedings filed by Plaintiff, Eliana Salzhauer, on June 21, 2019. [Case

MDL No. 2909, Dkt 1] Since the Transfer Order was issued, the Parties have submitted a Joint

Organization and Management Plan and attended a Preliminary Pre-trial Conference [Case NDIL

No. 1:19-cv-03924, Dkt 63]. On November 26, 2019, following the Preliminary Pre-Trial

conference, this Court issued an order setting deadlines for Interim Class Counsel Applications

and Responses.

    II.     The Proposed Structure meets the criteria set forth by the Manual for Complex

            Litigation

            The Manual for Complex Litigation (4th) §10.224 lists the following complementary

factors to be considered in appointing counsel:

       •    qualifications, functions, organization, and compensation of designated counsel;

       •    whether there has been full disclosure of all agreements and understandings among

            counsel;




3
 California (Cal. Bus. & Prof. Code § 17200, et seq., Cal. Civ. Code §§ 1750, et seq., Cal. Business & Professions
Code §§ 17500, et seq.); Georgia (O.C.G.A. § 10-1-390 et seq., O.C.G.A. § 13-6-11); Florida (Fla. Stat. § 501.201,
et seq.); Illinois (815 Ill. Comp. Stat. 505/1, et seq.); Indiana (I.C. § 24-5-0.5), Massachusetts (Mass. Gen. Laws Ch.
93A, et seq.); Michigan (Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.);
Missouri (Mo. Rev. Stat. § 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New York (N.Y. Gen. Bus.
Law §§ 349, 350, et seq.); Virginia (Va. Code Ann. § 59.1-200); Kentucky (Ky. Rev. Stat. Ann. § 367.170) and
Washington (Wash. Rev. Code § 19.86.010, et seq.).
    Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 4 of 12 PageID #:346




    •    would-be designated attorneys’ competence for assignments;

    •    whether there are clear and satisfactory guidelines for compensation and reimbursement,

         and whether the arrangements for coordination among counsel are fair, reasonable, and

         efficient;

    •    whether designated counsel fairly represent the various interests in the litigation—where

         diverse interests exist among the parties, the court may designate a committee of counsel

         representing different interests;

    •    attorneys’ resources, commitment, and qualifications to accomplish the assigned tasks;

         and

    •    the attorneys’ ability to command the respect of their colleagues and work cooperatively

         with opposing counsel and the court—experience in similar roles in other litigation may

         be useful, but an attorney may have generated personal antagonisms during prior

         proceedings that will undermine his or her effectiveness in the present case.

         The following paragraphs will address the above referenced factors. For simplicity, we

have combined the factors into groups for discussion below.

         A. The Proposed Leadership Structure

         S&L Firm proposes a small and streamlined leadership structure comprising of three co-

leads, one of whom should be Syed Ali Saeed from S&L Firm (“Proposed Structure”). 4 The

Proposed Structure is both streamlined and effective. It will contain an odd number of counsel to

offer a tie breaker and hence ensure efficiency. The Proposed Structure would also include

representation from multiple states and lend a voice to different subsets of the proposed national

class.

4
 The S&L Firm does not have a position on whether one of the co-leads should be appointed as the liaison counsel
or if the liaison counsel role should be awarded to someone in addition to co-leads .
    Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 5 of 12 PageID #:346




       This litigation would also greatly benefit from the leadership appointment of an Indiana

based law firm, S&L Firm. The underlying allegations and investigations in all the cases

consolidated in the Fairlife MDL stem from reports of animal abuse perpetrated at Fair Oaks

Farms in Indiana. Hence, Indiana is the hub for a substantial portion of discoverable evidence

relevant to this MDL. The presence of competent Indiana-based counsel on the leadership panel

would be logistically critical during discovery and help minimize legal expenses.

       Recently, courts have trended towards smaller leadership structures to avoid the

inefficiencies and double billing that occurs when too many attorneys are involved. S&L Firm’s

Proposed Structure is sufficiently lean to limit such inefficiencies and double billing. While this

MDL would require substantial resources and capacity to litigate, its scope would also not

warrant a more expansive leadership and committee structure. Hence, a three firm leadership

panel will balance these competing interests and provide sufficient resources and experience to

appropriately litigate this MDL without over-lawyering.

       B. S&L Firm is well qualified to lead this litigation

       S&L Firm was founded by Syed Ali Saeed and Jonathan Little, in January 2011. In less

than nine years the firm and its attorneys have taken significant strides and participated in many

impactful and groundbreaking lawsuits. The firm focuses on (1) consumer rights litigation on

behalf of individual and class plaintiffs; (2) civil rights litigation on behalf of individual and

class plaintiffs; and (3) sexual abuse litigation on behalf of individual and class plaintiffs. The

combined experience, knowledge, resources, and qualifications of the firm’s attorneys make it

uniquely suited to manage this litigation. [Ex. A – Firm’s Resume].
    Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 6 of 12 PageID #:346




       S&L Firm has a history of successfully prosecuting class actions against creditors,

manufacturers, and insurance companies involving data breaches, false advertising claims,

violations of federal and state consumer protection laws, breach of contract claims, and violation

of ERISA laws. Attorneys at S&L Firm have also been involved with civil rights class actions

involving Medicaid benefits and prisoner’s rights. The following is a non-exhaustive list of

recent class action settlements obtained by attorneys at S&L Firm:

       1. W.P. v. Anthem Insurance Companies, Inc. filed in the Southern District of Indiana,

           Indianapolis Division (1:15-cv-00562-TWP-TAB). The court has issued a final

           approval certifying a nationwide class in this case;

       2. John Gehrich v. Chase Bank USA, NA., filed in the Northern District of Illinois,

           Eastern Division (1:12-cv-5510). The court has issued a final approval certifying a

           nationwide class in this case;

       3. Richard Baltzell v. Indiana Family and Social Services Administration filed in

           Marion County Superior Court, Indiana (49D021406CT021696). The court has issued

           a final approval certifying a statewide class in this case;

       4. Amin Makin et. al. v. Bank of America, N.A., filed in Southern District of Indiana,

           (1:12‐cv‐0393‐WTL‐DKL). The court has issued a final approval certifying a

           nationwide class in this case;

       5. Rebecca Ashack v. Caliber Home Loans filed in the Southern District of Indiana

           (1:15-cv-01069-JMS-DML). The court has issued a final approval certifying a

           nationwide class in this case;

       6. Gentry v. Floyd Co, Civil No. 4:14-cv-00054-TAB-RLY (S.D. Ind.). The court has

           issued a final approval certifying a nationwide class in this case; and
    Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 7 of 12 PageID #:346




         7. Houghlin. V. Clark Co., Civil No. 1:16-cv-01331-WTL-TAB (S.D. Ind.). The court

            has issued a final approval certifying a nationwide class in this case.

         It is critical to note that S&L Firm has significant experience in litigating individual

consumer cases often involving state UDAP and false advertising statutes. S&L Firm has

successfully litigated hundreds of such individual actions across the nation. This experience is

pivotal in understanding the nuances of litigating class-wide local consumer statutory claims and

will be instrumental in guiding this litigation.

         S&L Firm’s work on behalf of sexual abuse victims has also been monumental. The firm

has been a pioneer in athlete abuse cases and brought some of the earliest legal actions against

the United States Olympic Committee and their associated entities. S&L Firm was also the

original source to the Indianapolis Star for the Out of Balance investigation which ultimately

exposed the sexual abuse of Larry Nassar and over a hundred other coaches. S&L Firm has

successfully tried and settled several Olympic Sports sex abuse cases. S&L Firm is or previously

has been involved with sexual abuse cases against USA Gymnastics, USA Taekwondo, USA

Swimming, USA Diving, USA Fencing, USA Speed Skating, Michigan State University, Ohio

State University, several catholic dioceses, and a number of other state and private entities.

These cases include both individual and class actions brought on behalf of victims of sexual

abuse.

         Attorneys at S&L Firm have also played a pivotal role in a number of high-profile civil

and constitutional rights cases involving marriage rights. Most notably, Dan Canon served as

counsel in the: (1) Landmark Supreme Court case of Obergefell v. Hodges, 192 L. Ed. 2d 609,

2015 U.S. LEXIS 4250 (June 26, 2015); (2) Kentucky and Indiana marriage equality cases of

Bourke v. Beshear, 996 F.Supp.2d 542 (W.D. Ky. Feb. 12, 2014), Love v. Beshear, 989
    Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 8 of 12 PageID #:346




F.Supp.2d 536 (W.D. Ky. May 13, 2014), and Love v. Pence, 28 F. Supp. 3d 793 (S.D. In. 2014);

and (3) highly publicized case of Miller v. Davis, 123 F. Supp. 3d 924, 929 (E.D. Ky. 2015)

where plaintiffs were refused marriage licenses in Rowan County, Kentucky.

       The breadth of experience within S&L Firm is evident from its resume. S&L Firm’s

experience speaks volumes about its ability and capacity to handle complex litigation and obtain

successful results. Furthermore, S&L Firm’s lack of prior leadership experience is not a

detriment but an asset to this litigation. In fact, Mr. Saeed’s diverse professional and personal

background will enrich the discourse within the leadership panel and result in better decision

making. As noted in Guidelines and Best Practices For Large and Mass-Tort MDLS, Second,

2018, 55-56:

       Mass-tort MDL cases affect a large and diverse group of people and ensuring diversity in
       the leadership of the cases will enhance public trust in the courts and will improve the
       likelihood of consideration of diverse ideas and perspectives that MDLs require. Litigants
       and the civil justice system benefit from the diversity of leadership. Indeed, the same way
       that diversity improves companies’ bottom lines, litigants and the civil justice system
       benefit from diversity of leadership. Yet historically, women and minority lawyers have
       not been appointed to leadership positions at rates proportionate to their representation in
       the plaintiffs’ bar generally. It cannot be said that there are not enough talented
       individuals with the education, background and experience to effectively lead MDL
       litigation to permit greater diversity.


       Repeat player dynamics continue to persist, restricting diversity across MDL leadership.
       Research shows that having a mix of experienced and new players enhances creativity
       and innovation, leads to better decisionmaking and problem solving, and promotes
       discussion of novel concepts raised by those who historically have not been in
       leadership. Whatever application process is used, the court should bear in mind the value
       of diversity of all types as a component of obtaining the best possible representation for
       plaintiffs. Judges should seek to appoint a diverse group, with respect to not only prior
       experience and skills, but also gender, race and national origin, age, and sexual
       orientation. . . In addition to demographic diversity, the judge should be mindful of
       creating a team with diversity of experience, balancing the benefits of selecting
       leadership members who have worked well together in the past with the benefits of
       having a leadership team that brings different experiences that can be brought to bear in
       the litigation.
    Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 9 of 12 PageID #:346




         Guidelines and Best Practices For Large and Mass-Tort MDLS, Second, 2018, 55-56,

         https://judicialstudies.duke.edu/wp-content/uploads/2018/09/MDL-2nd-Edition-2018-

         For-Posting.pdf, Last Viewed on December 6th, 2019 (emphasis added)

         It is also of importance to note that S&L Firm’s Leadership is supported by Paul, LLP, a

widely respected and recognized complex litigation firm. [Ex. B- Rick Paul’s Declaration]. Mr.

Paul, LLP has served in leadership roles on numerous MDLs. [Ex. B- Rick Paul’s Declaration].

While S&L Firm does not have any formal arrangement with Paul, LLP, as yet, the two firms

hope to collaborate and work together during this litigation on an “as needed” basis. 5

         C. Full Disclosure of Agreements Among Counsel

         While S&L Firm has engaged in some discussion with other plaintiffs’ counsel involved

in the Fairlife MDL, no agreement was reached. Consequently, S&L Firm does not have any

agreements or understandings with any counsels with regard to leadership or work splits at this

stage.

         D. Guidelines for Compensation and Coordination

         S&L Firm suggests that the Court enter a common benefit order to govern the

potential compensation and expense reimbursement to those firms working on behalf of

all plaintiffs. S&L Firm strongly believes that oversight of the time and expenses should begin at

the outset of the litigation and be submitted and reviewed on a monthly basis. Setting the

standards for approved time and expenses in the beginning of the litigation will further the goal

of a streamlined, efficient prosecution of the litigation. S&L Firm specifically proposes a

common benefit order that would:

    •    Require time and expenses be submitted on a monthly basis via Excel spreadsheet;


5
  S&L Firm’s Leadership Application is also supported by the Frasher Law Firm, P.C. which represents the Plaintiff in
[Ex. C Ryan Frasher’s Declaration]
   Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 10 of 12 PageID #:346




   •   Require, at the outset, a list of attorneys and staff each firm intends to have work on the

       case, along with their title, graduation year, years of practice, and a brief description of

       the anticipated work such person would do in the litigation;

   •   Require a series of “task” billing codes to be used to identify the type of work conducted;

   •   Require Liaison Counsel, within 60 days, to review each firm’s submission and make an

       initial determination as to whether the time and expenses are approved or unapproved and

       provide an opportunity to cure;

   •   Provide that time will be compensated at hourly rates that are uniform and based on years

       of experience; and

   •   Require Liaison Counsel to establish two interest-bearing accounts to receive Common

       Benefit Fees and Common Benefit Expense contributions.

       Addressing time and expense discrepancies in real time will prevent, or at least

minimize, the number of disputes unrelated to the merits of the litigation that tend to

arise at the conclusion of an MDL. A proposed draft shall be furnished to the court once there is

a ruling on the leadership structure.

       E. Interests of All Parties

       While certification of a nationwide class remains a possibility in this action, there is also

a strong likelihood that certification will occur on a state by state basis. Sabeehullah is the only

action in this litigation that does not put forth a nationwide class definition and includes class

representative from Indiana, Michigan, Virginia, and Kentucky. Therefore, S&L Firm’s

appointment as co-lead will ensure that the interests of the statewide classes (especially those in

Indiana, Michigan, Virginia, ad Ketucky) are preserved and not compromised in the interest of

obtaining a larger global resolution.
   Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 11 of 12 PageID #:346




        F. Ability of Counsel to work cohesively

        S&L Firm knows from experience how to promote efficient litigation. As demonstrated

above, S&L Firm has brought about successful and appropriate resolutions to large complex

lawsuits that often included multiple renowned and successful law firms and/or interest groups.

S&L Firm understands that cooperation with co-counsel and professional communication with

defense counsel are vital to achieving that level of success. S&L Firm’s ability to draw from past

experiences qualifies them as advocates for the proposed Class and will enable them to

streamline the litigation and save significant expense for all parties through cost-sharing and

reduced duplication of effort.

        G. Ability to Fund the Litigation

        S&L Firm is willing and able to fund this litigation. The Firm is well established and has

the requisite financial resources necessary to pursue a case of this magnitude. S&L Firm also has

highly experienced attorneys and support staff who are skilled at working with other co-counsels

to maximize efficiency and avoid unnecessary costs and expenses during the Litigation. S&L

Firms is also intimately familiar with the costs associated with successfully prosecuting complex

class actions and will ensure that the necessary resources are expended.

III.    Appointment as Interim Counsel

        In addition to appointment as Co-Lead Counsel, Mr. Saeed seeks appointment as Co-

Lead Interim Class Counsel pursuant to Fed. R. Civ. P. 23(g)(3), which permits a court to

“designate interim counsel to act on behalf of a putative class before determining whether to

certify the action as a class action.” Designating interim class counsel is essential because it

“clarifies responsibility for protecting the interests of the class during precertification activities,
    Case: 1:19-cv-03924 Document #: 66 Filed: 12/06/19 Page 12 of 12 PageID #:346




such as making and responding to motions, conducting any necessary discovery, moving for

class certification, and negotiating settlement.” Manual, § 21.11. 6

IV.     Conclusion

        For the foregoing reason S&L Firm requests that this Court should accepts its Proposed

Structure and appoint Syed Ali Saeed as one of co-leads for the Fairlife MDL.



                                                                               Respectfully submitted,


                                                                               /s/Syed Ali Saeed
                                                                               Syed Ali Saeed
                                                                               Saeed & Little, LLP
                                                                               18 W Vermont Street
                                                                               Indianapolis, IN 46204
                                                                               Ph.: 317-721-9214
                                                                               Fax: 888-422-3151
                                                                               Email: ali@sllawfirm.com




6
 The criteria laid out for appointment of interim class counsel under FED.R.CIV.P. 23(g)(1) have been previously
discussed at length in Section II of this Application and has been omitted here in the interest of brevity.
